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              IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

        JOHN J. PIKULSKI
        5407 Water Street
        Suite 104
        Upper Marlboro, Maryland 20772

               Plaintiff

               v.                                                   Case No.:   CittJ(iJ-'al (o~
        GREA T AMERICAN INSURANCE COMPANY
        301 E. Fourth Street
        Cincinnati. Ohio 45202

               SERVE ON:
               Maryland Insurance Administration
               Insurance Commissioner
               351 West Camden Street
               Baltimore. Maryland 2 t 20 t

        and

         MfNNESOTA LAWYERS MUTUAL
         fNSURANCE COMPANY
         333 S 71h Street
         Suite 2200
     ___ tv!inne~poli~!_~inneso~ 52~O~ _

               SERVE ON:
               Maryland Insurance Administration
               Insurance Commissioner
                                                                                               <tIo
               351 West Camden Street                                                           co
               Baltimore, Maryland 2120 I                                                      'co'        V1


               Defendants


                                                 COMPLAINT

               Comes now, the Plaintiff, John 1. Pikulski, by and through his attorneys, Steven B. Vinick

        and the law office of Joseph, Greenwald and Laake, P.A., and sues the Defendants, Great American
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Insurance Company and Minnesota Lawyers Mutual Insurance Company, and for cause states as

follows:


                                     JURISDICTION          AND VENUE

           1.       The amount of this claim exceeds $30,000.00 and/or exceeds the jurisdictional limit

of the District COUl1 of Maryland.

           2.       Venue for this claim is proper in Prince George's County, Maryland.

           3.       The action is timely brought.

                                                    PARTIES

        4.          The Plaintiff, John J. Pikulski, is an adult resident of Calvert County, Maryland.

His work address is 5407 Water Street, Suite 104, Upper Marlboro, Prince George's County,

Maryland, 20772.

           5.       The Defendant, Great American Insurance Company, is an insurance company that

issues legal professional liability policies. It does business in the State of Maryland and specifically

in Prince George's County, Maryland.

        6.         The Defendant, Minnesota Lawyers Mutual Insurance Company, is an insurance

company that issues legal professional liability policies. It does business in the State of Maryland

and specifically in Prince George's County, Maryland.


                                              COUNT ONE


     DECLARATORY JUDGMENT AGAINST GREAT AMERICAN                                    INSURANCE
                           COMPANY

       7.          The Plaintiff, John J. Pikulski is an attorney. He is licensed in Maryland only and

has never been licensed         in Washington,      D.C.   Accordingly,   he has never practiced law in

Washington, D.C.

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            8.       From on or about 4/2005 to 4/2012, the Plainti ff was employed as an associate

   attorney with the Law Offices of Thomas C. Mooney. This law firm was owned solely by Thomas

   C. Mooney, Esq.

            9.       On or about May 2007, Anthony Mills retained the Law Offices of Thomas C.

   Mooney to represent him in three criminal cases; State v. Anthony Mills - CT02l209X; Stare v

   Anthony Mills - CTOlJ 208)( and, State v. Anthony Mills - CT02l084X.

            10.      Mr. Mooney assigned the representation of Mr. Mills to his employee, the Plaintiff.

   Accordingly, as a direct and proximate result of his employment with the Law Offices of Thomas

   C. Mooney, the Plaintiff provided legal representation to Mr. Mills. Mr. Mills was convicted by

   a jury and was incarcerated for the subject criminal offenses.

            11.      On July 21, 2015, Mr. Mills filed a civil complaint against PlaintiffPikulski   in the

   Superior Court of the District of Columbia, Case No. 2015 CA 005452 B. See Exhibit I. Plaintiff

   Pikulski retained undersigned counsel to represent him in that matter.

            12.      Upon information and belief, the Law Offices of Thomas C. Mooney were covered

   under a legal professional       liability policy issued by Defendant Great American Insurance
--- Com-pany. - - -- ------------ ----------- ------           -.----.-. ------       - .. - - . - ---- -- -.- - .. -----

            13.      This legal I iability insurance policy covered any and all claims of neglect or legal

   malpractice made against Mr. Mooney, his associates and legal staff, including, but not limited to,

   the Plaintiff.

            14.      Upon being served with the complaint filed by Mr. Mills, the Plaintiff contacted

   Thomas C. Mooney, and then contacted Defendant Great American Insurance Company.

            1 S.     Plaintiff contacted Defendant Great American Insurance Company and requested

   that Defendant Great American Insurance Company provide a defense against and indemnify him



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   for any claims made against him while he was employed with the Law Offices of Thomas C.

   Mooney, which would include the lawsuit brought by Mr. Mills.

            16.     Plaintiff fully complied with all requirements imposed on him pursuant to the

   contract between Defendant Great American Insurance Company and the Law Offices of Thomas

   C. Mooney.

            17.     The present lawsuit against the Plaintiff in the District of Columbia Superior Court

   has essentially remained stagnant in order for the Plaintiff to obtain a defense by Defendant Great

   American Insurance Company.

            18.     Pursuant to the Order of the Superior Court of the District of Columbia, (see Exhibit

   2) the Plaintiff (who is the Defendant in the District of Columbia Superior Court case brought by

   Mr. Mills) must file a praecipe by May 1,2016 to inform the Court that he has either obtained the

   participation    of the appropriate    insurance company or he has filed suit to compel their

   participation.   In addition, the Plaintiff must also file a praecipe stating whether he will waive the

   statute of limitations so that the suit can then proceed in the Circuit Court for Prince George's

   County or whether he is unwilling to waive the statute of limitations, which would have the suit

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            19.     Contemporaneous      with the filing of this lawsuit, the Plaintiff is also asking the

   Superior Court to stay the case there so that legal representation by the appropriate insurance

   company may be obtained.

           20.      The Plaintiff was and is covered by the insurance policy issued by Great American

   Insurance Company to the Law Offices of Thomas C. Mooney for Mr. Mills' lawsuit and claims.




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             21.      There exists an actual controversy of a justiciable issue between the Plaintiff and

     Defendant Great American Insurance Company within the jurisdiction of this Court involving the

     rights and liabilities of the parties.

             22.      Antagonistic    claims are present between the parties.       These claims indicate

     imminent and inevitable litigation.

             23.      A declaratory judgment by this Court will terminate this controversy,

             WHEREFORE.         the Plaintiff demands:

             1.       That this Court determine and adjudicate the rights and liabilities of the parties with

     respect to the insurance policy issued by Defendant Great American Insurance Company to the

     Law Office of Thomas C. Mooney;

             2.       That this Court determine that the Plaintiffis covered by the insurance policy issued

     by Great American Insurance Company to Thomas C. Mooney for the lawsuit filed by Anthony

     Mills against the Plaintiff;

             3.       That this Court order that Defendant Great American Insurance Company provide

     a defense for the Plaintiff to the lawsuit filed by Anthony Mills;

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     in any judgment against the Plaintiff, Defendant Great American Insurance Company is required

     to indemnify the Plaintiff;

             5.       That this Court award Plaintiff all attorneys' fees incurred in these proceedings, as

     well as all costs of these proceedings; and,

             6.      That this Court award Plaintiff such other and further relief as in law and justice he

     may be entitled to receive.




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                                             COUNT TWO

      DECLARA TORY JUDGMENT AGAINST MINNESOTA LA WYERS MUTUAL
                         INSURANCE COMPANY
         24.      The Plaintiff adopts and incorporates all of the allegations contained in paragraphs

I through 23 as if stated verbatim herein.

         25.      Upon information and belief, at the time the Plaintiff was served with the lawsuit

filed by Anthony Mills, the Law Offices of Thomas C. Mooney were covered under a legal

professional liability policy issued by Minnesota Lawyers Mutual Insurance Company.

         26.      This legal liability insurance policy covered any and all claims of neglect or legal

malpractice made against Mr. Mooney, his associates and legal staff, including, but not limited to,

the Plaintiff.

         27.      Upon being served with the complaint filed by Mr. Mills, the Plaintiff contacted

Thomas     C. Mooney,      and 'then contacted   Defendant   Minnesota    Lawyers   Mutual Insurance

Company.

         28.      Plaintiff contacted Defendant Minnesota Lawyers Mutual Insurance Company and

requested that Defendant       Minnesota   Lawyers Mutual Insurance Company provide a defense

against and indemnify him for any claims made against him while he was employed with the Law

Offices of Thomas C. Mooney, which would include the lawsuit filed by Mr. Mills.

         29.      Plaintiff fully complied with all requirements    imposed on him pursuant to the

contract between Defendant Minnesota Lawyers Mutual Insurance Company and the Law Offices

of Thomas C. Mooney.

         30.      The present lawsuit against the Plaintiff in the District of Columbia Superior Court

has essentially   remained stagnant in order for the Plaintiff to obtain a defense by Defendant

Minnesota Lawyers Mutual Insurance Company.


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            31.     Pursuant to the Order of the Superior Court of the District of Columbia, the Plaintiff

    (who is the Defendant in the District of Columbia Superior Court case brought by Mr. Mills) must

    file a praecipe by May I, 2016 to inform the Court that he has either obtained the participation of

    the appropriate insurance company or he has filed suit to compel their participation.        In addition,

    the Plainti ff must also file a praecipe stating whether he will waive the statute of limitations so that

    the suit can then proceed in the Circuit Court for Prince George's           County or whether he is

    unwilling to waive the statute of limitations, which would have the suit proceed in the District of

    Columbia Superior Court.

            32.     Contemporaneous       with the filing of this lawsuit, the Plaintiff is also asking the

    Superior Court to stay the case there so that legal representation by the appropriate insurance

    company may be obtained.

            33.     The Plaintiff was and is covered by the insurance policy issued by Minnesota

    Lawyers Mutual Insurance Company to the Law Offices of Thomas C. Mooney for Mr. Mills'

    lawsuit and claims.

            34.     There exists an actual controversy of a justiciable issue between the Plaintiff and

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    involving the rights and liabilities of the parties.

            35.     Antagonistic   claims are present between t_he parties.         These claims indicate

    imminent and inevitable litigation.

            36.     A declaratory judgment by this Court will terminate this controversy.




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           WHEREFORE, the Plaintiff demands:
           1.       That this Court determine and adjudicate the rights and liabilities of the parties with

  respect to the insurance policy issued by Defendant Minnesota Lawyers Mutual Insurance

  Company to the Law Office of Thomas C. Mooney;

           2.       That this Court determine that the Plaintiff is covered by the insurance policy issued

  by Minnesota Lawyers Mutual Insurance Company to Thomas C. Mooney for the lawsuit filed by

  Anthony Mills against the Plaintiff;

           3.       That this Court order that Defendant        Minnesota    Lawyers Mutual Insurance

  Company provide a defense for the Plaintiff to the lawsuit filed by Anthony Mills;

           4.       That this Court order that in the event that the lawsuit filed by Anthony Mills results

  in any judgment against the Plaintiff, Defendant Minnesota Lawyers Mutual Insurance Company

  is required to indemnify the Plaintiff;

           5.       That this Court award Plaintiff all attorneys' fees incurred in these proceedings, as

  well as all costs of these proceedings; and,

           6.       That this Court award Plaintiff such other and further relief as in law and justice he

. - may be entitled-to-receive-

                                            Respectfully submitted,

                                            JOSEPH, GREENWALD & LAAKE, P.A.

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                                            BY:Jp£~ &
                                                'Steven B. Vinick
                                                                                  J/A
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